Case 5:18-cv-02277-SVW-SP Document 180 Filed 09/25/20 Page 1 of 2 Page ID #:6791



   1
   2
                                                                                JS-6
   3
   4
   5
   6
   7
   8
   9                                UNITED STATES DISTRICT COURT
  10               CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
  11
        PEPE’S, INC., a California corporation dba      Case No. 5:18-CV-02277-SVW (SPx)
  12    Pepe’s Towing,                                  Judge: Hon. Stephen V. Wilson
  13                       Plaintiff,                   STIPULATED JUDGMENT
  14             v.
  15    CITY OF SAN BERNARDINO, charter
        city organized under the laws of the State of
  16    California; VIRGINIA MARQUEZ, an
        individual, BENITO J. BARRIO, an
  17    individual, JOHN VALDIVIA, an
        individual, FRED SHORETT, an individual,
  18    BESSINE L. RICHARD, an individual,
        JAMES L. MULVIHILL, an individual, R.
  19    CAREY DAVIS, an individual, JARROD
        BURGUAN, an individual, PAUL
  20    WILLIAMS, an individual, GARY D.
        SAENZ, an individual, JOLENA GRIDER,
  21    an individual, ANDREA MILLER, an
        individual, also known as ANDREW
  22    TRAVIS MILLER, MARK SCOTT, an
        individual, and DOES 1-10,
  23
                           Defendants.
  24
  25
  26
  27
  28
                                                                  Case No. 5:18-cv-02277-SVW (SPx)
        55600.00507\33254586.5                               [PROPOSED] STIPULATED JUDGMENT
Case 5:18-cv-02277-SVW-SP Document 180 Filed 09/25/20 Page 2 of 2 Page ID #:6792



   1                                      STIPULATED JUDGMENT
   2            Pursuant to the accompanying Stipulation for Entry of Judgment,
   3            IT IS ORDERED, ADJUDGED AND DECREED that:
   4            1.       Judgment is entered in favor of Pepe’s, Inc. and against the City of San
   5   Bernardino in the sum of Six Hundred Thousand Dollars ($600,000), with the City
   6   of San Bernardino paying such sum by making payments to Pepe’s, Inc. on or before
   7   the following dates, in the following amounts:
   8                     a.      Two Hundred Thousand dollars ($200,000) on or before July 1,
   9                             2021;
  10                     b.      Two Hundred Thousand dollars ($200,000) on or before July 1,
  11                             2022; and
  12                     c.      Two Hundred Thousand dollars ($200,000) on or before July 5,
  13                             2023;
  14            2.       Pepe’s shall not take any steps to enforce this Judgment as long as the
  15   City makes the payments as scheduled in Paragraph 1 of this Stipulated Judgment
  16   and pursuant to Section 1 of the accompanying Stipulation for Entry of Judgment.
  17            3.       No party is the prevailing party, no attorneys’ fees or costs of suit are
  18   awarded, and no interest on this judgment shall accrue unless and until Pepe’s files a
  19   declaration with this Court that the City has defaulted on the payment schedule set
  20   forth in Section 1 of the accompanying Stipulation for Entry of Judgment. If Pepe’s
  21   files such a declaration then interest shall accrue at the post-judgment statutory rate
  22   from the date of the filing of Pepe’s declaration. If Pepe’s files the declaration,
  23   Pepe’s shall be entitled to recover attorney’s fees incurred thereafter to enforce the
  24   judgment to the extent otherwise allowed by applicable law.
  25
  26   Dated:        September 25, 2020
  27                                               Hon. Stephen V. Wilson
                                                   United States District Judge
  28
                                                                         Case No. 5:18-cv-02277-SVW (SPx)
        55600.00507\33254586.5                                      [PROPOSED] STIPULATED JUDGMENT
